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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 NORTHERN DIVISION

EUGENE J. COLLINS                                                                    PLAINTIFF

v.                                Case No. 3:20-cv-00136-KGB

CHRIS KELLUMS, Deputy Sheriff,
Craighead County, et al.                                                          DEFENDANTS

                                             NOTICE

       Plaintiff Eugene J. Collins, who is currently an inmate at the Craighead County Detention

Facility, filed a pro se complaint, pursuant to 42 U.S.C. § 1983. Mr. Collins sent correspondence

to the Court that attaches evidence that the Court cannot process for filing. Mr. Collins is directed

to notify the Court within 15 days if he would like the Court to return the evidence to him or send

it to someone else on his behalf. If he would like the Court to send it to someone else, he must

provide the name and mailing address of the person to whom he would like it sent.

       So ordered this the 28th day of September, 2020.


                                                      _______________________________
                                                      Kristine G. Baker
                                                      United States District Court Judge
